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               EXHIBIT 1
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AVA NAEINI
PLAINTIFF IN PRO PER
11420 Santa Monica Boulevard
Suite 252098
Los Angeles, California 90025
TEL: 747-999-5737
avanaeini12@gmail.com

             SUPERIOR COURT OF THE STATE OF CALIFORNIA
              COUNTY OF LOS ANGELES, CENTRAL DISTRICT
                STANLEY MOSK COURTHOUSE-UNLIMITED
                           JURISDICTION

AVA NAEINI, an individual,               ) Case No.
                                         )
             Plaintiff,                  ) COMPLAINT FOR:
vs.                                      )
                                         )   1. DEFAMATION
COGNIZANT TECHNOLOGY                     )   2. DEFAMATION PER SE
SOLUTIONS U.S. CORPORATION, A            )   3. DEFAMATION PER QUOD
DELAWARE CORPORATION, AND                )   4. FALSE LIGHT
DOES 1-100, inclusive,                   )
                                         )
             Defendants.                 ) JURY TRIAL DEMANDED
                                         )
__________________________________
_


      COMES NOW Plaintiff AVA NAEINI, by and through her attorneys, have filed
the following COMPLAINT in the above-captioned action and state to this Honorable
Court as follows:




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COMPLAINT BY AVA NAEINI AGAINST COGNIZANT TECHNOLOGY SOLUTIONS U.S.
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1.     Plaintiff, AVA NAEINI (“Plaintiff”), institutes this action for actual damages,

       statutory damages, attorneys’ fees and the costs of this action against Defendants,

       and DOES 1 to 100, inclusive, (“Defendants”), for multiple causes of action.

2.      Defendant, COGNIZANT TECHNOLOGY SOLUTIONS U.S. CORPORATION,

        A DELAWARE CORPORATION, AND DOES 1-100, inclusive,

a foreign corporation formed in Delaware that is authorized to do business in the State

of California.

3.      Plaintiff does not know the true names of Defendant DOES 1 through 100,

        inclusive, and therefore sues them by those fictitious names. Plaintiff is informed

        and believes and thereon alleges that each of those defendants was in some

        manner legally responsible for the events and happenings alleged in this

        complaint and for Plaintiff’s damages. Plaintiff is informed and believes, and

        thereon alleges, that each of the Defendants was, at all times relevant herein, the

        agent and representative of the other Defendants and was acting, at least in part,

        within the course and scope of such a relationship. Therefore, Defendants, and

        each of them, including all fictitious Defendants sued herein, are liable to

        Plaintiffs for the acts of the other Defendants. Plaintiff is informed and believes,

        and on that basis alleges that at all times mentioned herein, each defendant,

        whether actually or fictitiously named herein, was the principal, agent (actual or


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        ostensible) or the employee of each other defendants, and in acting as such

        principal or within the course and scope of such employment or agency, took

        some part in the acts and omissions hereinafter set forth, by reason of which each

        Defendant is liable to Plaintiff for the relief prayed for herein.

4.       The true names and capacities of the Defendants, and DOES 1 through 100,

        inclusive, whether individual, corporate, associate or otherwise, are unknown to

        Plaintiff at the time of filing this Complaint, and Plaintiff therefore, sues said

        Defendants by such fictitious names and will seek leave of Court to amend this

        Complaint to show their true names or capacities when the same have been

        ascertained. Plaintiff is informed, and believes, and thereon alleges, that each of

        the DOE Defendants is, in some manner, responsible for the events and

        happenings herein set forth and proximately caused injury and damages to

        Plaintiff, as alleged herein.

5.      In addition to the Defendants named above, Plaintiff sues fictitious Defendants

        DOES 1 through 100, inclusive, pursuant to Code of Civil Procedure § 474,

        because their names, capacities, status, or facts showing them to be liable are not

        presently known. Plaintiff will amend this complaint to show their true names

        and capacities, together with appropriate charging language, when such

        information has been ascertained.


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6.      At all times herein mentioned, Plaintiff is informed and believes, and thereupon

        alleges that the Defendants, and each of them, are liable to Plaintiff for monies

        owed, as specifically alleged herein. And at all times herein mentioned, each of

        the DOE

7.      Defendants was the agent and employee of each of the remaining Defendants, and

        was at all times herein mentioned, acting within the course and scope of said

        agency or employment.

                              JURISDICTION AND VENUE
8.      All events referred to in the allegations contained herein occurred within the

        boundaries of the County of Los Angeles, State of California as this is where

        Plaintiff resides. Therefore both jurisdiction and venue properly lie with this

        Court.

                                FACTUAL BACKGROUND
9.      Plaintiff incorporates by reference paragraphs 1 through 8 as though fully set

        forth below.

10.     Plaintiff Ava Naeini was hired on May 31st, 2022 by Cognizant as a senior

        associate for a technical opportunity with Credit Suisse. The salary as a full time

        employee was 105k.

11.     Defendant, COGNIZANT TECHNOLOGY SOLUTIONS U.S. CORPORATION

        hereinafter referred to as “Cognizant” is a leading provider of consulting,

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      information technology, and business process outsourcing services. The firm's

      mission is helping the world's top companies build stronger businesses.

12.   Plaintiff Ava Naeini accepted the position and signed the invention agreement

      disclosing the invention and patent fully in the invention agreement to Cognizant.

      (See Exhibit 1 – INVENTION AGREEMENT, Dated _May 17th, 2022_____, a

      true and correct copy is provided herein and incorporated by reference).

13.   Upon the hiring there was very little to zero communication from plaintiff

      manager at Cognizant Amit Ranjan who was in India. As plaintiff was onboarded

      with Credit Suisse after a week or two plaintiff immediately started performing

      very well and becoming productive for her role and building a strong relationship

      with her other manager on the Credit Suisse. Plaintiff was hired for a crucial and

      highly specialized data and scalability role that in today’s world very few people

      have skills for, and Plaintiff had those skills and relevant experience as she has

      always been a top performer with a unique mindset.

[PLAINTIFF GAVE VOLUNTARILY AT THE COMMENCEMENT OF
EMPLOYMENT FULL DISCLOSURE OF HER INVOLVEMENT WITH HER
PULSE OPERATIONS COMPANY. THIS DISCLOSURE WAS MADE IN
WRITING AND FREELY PROVIDED TO HER EMPLOYER AND CLIENT
CREDIT SUISSE]

14.   Prior to hiring for this company plaintiff was working on the invention and a tech

      startup that plaintiff incorporated, and plaintiff disclosed all of that information to


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      plaintiff manager on the Credit Suisse side via email immediately to make sure

      transparency and ethics are maintained and he is aware of her prior efforts.

15.   Credit Suisse has their own agreements regarding “outside business activities”,

      OBI that requests you to disclose all of your business activities, so plaintiff

      disclosed the company and the project, Pulse Operations and her patent to make

      sure the invention is protected and transparency is maintained fully to preserve

      her credibility and reputation.

16.   Plaintiff also became aware on the Credit Suisse main portal that they have a

      founders grant for innovative projects, and plaintiff decided to take a chance on

      her project which was focused on scalability, machine learning and artificial

      intelligence. They mention the grant is only for full time and not consultants yet

      their team became very interested in learning more about plaintiff project and

      rerouted plaintiff to “internal AI teams” for further discussions which was super

      exciting as plaintiff project needed data, and it was something Credit Suisse could

      potentially provide.

17.   Within a day or two after disclosing of plaintiff project, she was called into a

      meeting by her Credit Suisse manager's manager. The manager(name not known)

      started asking about Pulse and plaintiff openly shared the project and mentioned




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      to him that she is a minority woman and any support will be truly appreciated

      which he stayed silent about in awkward and dishonest manner.

18.   A day went by, and plaintiff was asked by Amit Ranjan, the manager on the

      Cognizant side not to login into any Credit Suisse’s account without any further

      explanations and vague answers upon legitimate questions as it was her work.

      Plaintiff reached out to him further down the line and still there were no answers.

19.   This was in July 2022 about a month into her employment. After about two weeks

      of pure silence and being in the dark plaintiff received an email from the security

      department of Cognizant, and plaintiff was asked not to discuss anything even

      with her manager, then plaintiff was called into a secret meeting where she was

      asked not to discuss anything with anyone prior to it.

20.   Upon the video call the gentleman whose name was Bill, from the company

      security team asked her with a threatening and condescending tone if she is

      recording, and plaintiff was shocked by this question and his suspicious attitude

      and responded that she is not recording. He also brought a witness with him

      another woman(name not known) and plaintiff had to join alone.

[PLAINTIFF BECAME SUBJECT TO FALSE ACCUSATIONS BY CLIENT
CREDIT SUISSE THAT PLAINTIFF WAS SEEKING TO BECOME A
COMPETITOR OF COGNIZANT]
21. He kept accusing plaintiff that plaintiff had applied for founder’s grant because

      plaintiff wanted to make money from Credit Suisse and now plaintiff is a

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      competitor to Cognizant which was shocking to her given the size and stage of

      infancy of plaintiff project. Plaintiff kept saying no and she insisted that her

      project needed support as it requires massive amount of metrics data for training

      and testing the models. Unfortunately, he kept insisting on the money side and

      plaintiff decided not to argue.

[FALSE ALLEGATIONS THAT PLAINTIFF FAIL TO SHARE IN THE
CONFLICT-OF-INTEREST SECTION OF COGNIZANT ETHICS TRAINING
HER INVOLVEMENT WITH PULSE OPERATION. THIS ACCUSATIONS OF
SABOTAGING A CURRENT EMPLOYER FOR SELF-GAIN RESULTS IN A
DEATH BLOW IN THE TECH INDUSTRY AND IF ESTABLISHED IN THE
MARKETPLACE WOULD PERMANENTLY BAN OR BAR THE ACCUSED OF
ANY FUTURE MEANINGFUL OPPORTUNITIES ]

22.   He continued with an accusatory tone by saying plaintiff refused to disclose her

      project and didn’t share that in the conflict-of-interest section of cognizant ethics

      training, hence she is unethical. When plaintiff looked at the slide first of all that

      slide was mute in a video training that had non stop audio, secondly the slide

      clearly stated disclosing information if you have “a notable ownership” in a

      company while her company has 0 revenue and assets, so the ownership was not

      notable, and it was more of her research project in machine learning where she

      was attempting to raise funds for, therefore she had to create a structure and a

      company around it by the rules of tech startups and fundraising in tech which he

      had no awareness of as he wasn’t a technical person or a founder. Rather he


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      attempted to defame the plaintiff and sabotage her reputation by attacking her and

      accusing her of behavior that she hasn’t done.

23.   To clear the air plaintiff requested him to lookup the invention agreement as proof

      of her honest manners and authenticity with the company and transparency of her

      research efforts prior to hiring. He requested the lady on the call to assist with that

      but unfortunately because Cognizant is very incompetent and lacks proper

      processes, ownership and leadership they were not even able to look up this

      simple agreement which plaintiff later on asked for and attached to this lawsuit as

      an exhibit. Not being able to locate the agreement at the time by them was an

      issue on their end that they were not taking responsibility for and contributed to

      the defamation and false plotting.

24.   After the meeting ended, silence and being in the dark continued and within a

      week an HR person named Danielle Curry reached out to plaintiff, treating her

      like her therapist and going on to talk about herself nonstop and the fact that she

      is new and clueless, very nervous, and doesn’t know what to do and plaintiff

      handled it professionally yet didn’t appreciate that she has to work with someone

      in a sensitive situation where she demonstrates that she is incapable and new.

25.   Plaintiff listened to her venting, then stated that she personally has been in the

      dark for more than 3 weeks and this is very unhealthy from the HR perspective


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      and employee’s health, plus no one is explaining to her anything and she is being

      called to secret meetings where the person brings someone with her and plaintiff

      is alone which defeats equality and she is not even allowed to speak to her

      manager about anything. She mentioned that this is unfair, and she does not feel

      safe at all. The call ended by her saying she tries to do her best.

[ESSENTIALLY PLAINTIFF WAS TERMINATED FOR NO GROUNDS OR
BASIS OTHER THAN INFERENCE OR CONFLICT OF INTEREST FOR
FAILURE TO DISCLOSE HER PULSE BUSINESS OPERATION AT THE TIME
SHE ACQUIRED EMPLOYMENT WITH COGNIZANT]

26.   Within a day or two Danielle informed plaintiff and said she is terminated, and

      plaintiff last day is July 29th. When plaintiff confronted and asked her about what

      she has shared before she responded in an inhumane tone and said the decision is

      final so she paid the plaintiff back this way after she wasted her time by venting

      and being a two-faced individual which is unethical.

[PLAINTIFF POSITION IS THAT SHE WAS THE VICTIM OF GENDER AND
ETHIC RACIAL BIAS BECAUSE SHE IS AN ADVANCED DEGREE
INDIVIDUAL WHO IS MUSLIM AND FEMALE. THIS CREATES A
SIGNIFICANT AMOUNT OF FEAR AND INTIMIDATION IN THIS
PREDOMINATE MALE TECH INDUSTRY.]

27.   Plaintiff felt abused and defamed, and being slandered simply because plaintiff is

      a passionate, entrepreneurial inventor. This company represented people with

      numbers for login and identification and way before working for them, plaintiff

      was already a lot more than just a 6-digit number. Plaintiff was terminated on July

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      29th 2022 with no communication from plaintiff’s unresponsive and irresponsible

      manager Amit Ranjan from Cognizant, who chose to take vacation during this

      very sensitive time and kept updating his pictures on WhatsApp with bikes as

      ironically plaintiff shared in her welcome email that biking is her hobby!!

      Manager on the Credit Suisse side was also silent which was very disappointing

      given her hard work and absolute best performance. Her growth and her stability

      were silently sabotaged by someone else’s malicious intent who was racially

      biased towards the plaintiff.

[DEFENDANT COGNIZANT REPORTED PLAINTIFF TO EDD AS
PARTICIPATING IN UNETHICAL BEHAVIOR IN ORDER TO DENY HER
UNEMPLOYMENT CLAIM HOWEVER THE ADMINISTRATIVE HEARING
OFFICER RULED IN HER FAVOR THAT IN EFFECT SHE WAS NOT
TERMINATED FOR A CAUSE THAT WOULD JUSTIFY DENYING HER
UNEMPLOYMENT BENEFITS]

28.   The abuse even continued by Cognizant by reporting plaintiff to EDD for

      improper conduct and lying of verbal and written warning which made EDD deny

      her unemployment claim at first and plaintiff chose to appeal for it, and the Judge

      ruled in her favor as she clearly understood the defamation component and abuse

      were very unjust.(See Exhibit 2 – for the denial, defamation claim of misconduct,

      court hearing and judge ruling correct copies are provided by herein by reference)




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29.   Plaintiff felt extremely discouraged and attacked by Cognizant approach which

      was far from their brand of “Cognizant”.

[PLAINTIFF EFFORTS TO FIND COMPARABLE WORK HAVE NOT BEEN
SUCCESSFUL SINCE LEAVING COGNIZANT. SURELY VINDICATION IN
THIS MATTER WOULD MAKE HER WHOLE DUE SINCE HER CURRENT
MISFORTUNE IS DUE TO RACIAL BIAS, UNFOUNDED GROUNDS AND
GENDER AND RACIAL INTIMIDATION].

30.   Plaintiff has not been able to seek work since then due to damages and mainly

      discouragement ruled by discrimination given that she was in a position with

      Credit Suisse that she had huge potential for delivery of a successful massive

      project and an invention that can truly change the world. Her project, pulse is

      cause driven and needs massive amount of data and infrastructure which is a

      something that’s not understood by someone who is not technical.

31.   Plaintiff career and growth got sabotaged by someone who cannot handle the

      intelligence of an immigrant muslim woman and that needs to be reviewed.



                         FIRST CAUSE OF ACTION
                                DEFAMATION

(AVA NAEINI AGAINST COGNIZANT TECHNOLOGY SOLUTIONS U.S.
CORPORATION AND DOES 1-100, inclusive.)

32.   Plaintiff incorporates by reference paragraphs 1 through 31 as though fully

set forth below.

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33.   Plaintiff is informed and based upon such belief alleges that the conduct of the

      agents, representatives and employees of Defendant company intentionally

      published statements that would be construed as defamatory against this Plaintiff.

      That assertions that Plaintiff had lied about her involvement with Pulse

      Operations, or tried to evade full disclosure of the startup she sought to seek

      funding for thru a portal for the client Credit Suisse in any event were defamatory

      as they were published among the agents, representatives and employees of

      Defendant company intentionally.

34.   That in fact Plaintiff can demonstrate and prove such allegations were false.

35.   That these representations made against her are not privileged and therefore not

      protected speech.

36.   That to make the accusations against this plaintiff has a natural tendency to injure

      or cause special damage to her business reputation.

37.   That this defendant’s agents, representatives and employees of Defendant

      company were at fault in publishing these statements and they amounted to at

      least negligence

38.   Plaintiff is informed and based upon such belief thereupon alleges that the

      statement was either defamatory per se or caused special damages to the plaintiff

      (defamatory per quod)


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39.   Plaintiff is informed and based upon such belief thereupon alleges that the

      statement was published to third parties as she met with numerous individuals

      who were agents, representatives and employees of Defendant company who

      caused the statements that were defamatory as aforementioned to be published to

      third parties.

40.    As a result of the conduct as set forth this plaintiff was defamed.

                                SECOND CAUSE OF ACTION
                                DEFAMATION PER SE

(AVA NAEINI AGAINST COGNIZANT TECHNOLOGY SOLUTIONS U.S.
CORPORATION AND DOES 1-100, inclusive.)
41. Plaintiff incorporates by reference paragraphs 1 through 40 as though fully

set forth below.

42.   In California, statements that “tend to expose the plaintiff to public hatred,

      contempt, ridicule, aversion, or disgrace, and to induce an evil opinion of him in

      the minds of right-thinking persons and deprive him of their friendly intercourse

      or society” may be considered defamation per se.

43.   Plaintiff is informed and based upon such belief alleges that the conduct of the

      agents, representatives and employees of Defendant company claims that the

      agents, representatives and employees of Defendant company harmed her by

      making the following statement(s): (1) She was unethical; (2) She was seeking to


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      fund her own company with the funds of the Client firm; 3. That she sought to

      evade and avoid disclosure by not fully disclosing her involvement with Pulse

      Operations among other defamatory statement none of which are true.

44.   Plaintiff is informed and based upon such belief alleges that the conduct of the

      agents, representatives and employees of Defendant company in fact made the

      aforementioned statements to persons other than Plaintiff and that these people

      reasonably understood that the statement(s) were] about plaintiff];

45.   That these people, the agents, representatives and employees of Defendant

      company reasonably understood the statement(s) as aforementioned to mean that

      these were grounds for this claim as defamation per se.

46.   That agents, representatives and employees of Defendant company failed to use

      reasonable care to determine the truth or falsity of the statement(s).

47.   That the essential damage occurred because Plaintiff loss her employment and in

      addition has suffered harm to her business and trade reputation as she cannot find

      comparable employment as a result of the accusations which are defamatory in

      nature. Plaintiff has suffered harm to reputation, harm and hurt feelings because

      of the actions of the Defendant.




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48.   Plaintiff is entitled to recover her actual damages upon proof of defendant’s

      wrongful conduct upon proving that such conduct was the substantial factor in

      causing her harm to her business, trade, profession or occupation reputation.

49.   Plaintiff is informed and based upon such belief alleges that the conduct of the

      agents, representatives, and employees of Defendant company even if plaintiff

      has not proved any actual damages for harm to reputation or shame, mortification,

      or hurt feelings, the law assumes that she has suffered this harm. Without

      presenting evidence of damage, plaintiff is entitled to receive compensation for

      this assumed harm in whatever sum is reasonable including punitive damages.

                                THIRD CAUSE OF ACTION
                                DEFAMATION PER QUOD

(AVA NAEINI AGAINST COGNIZANT TECHNOLOGY SOLUTIONS U.S.
CORPORATION AND DOES 1-100, inclusive.)

50.   Plaintiff incorporates by reference paragraphs 1 through 49 as though fully

set forth below.

51.   Under California law, Defamation per quod occurs when a statement is not

      obviously defamatory on its face, but requires proof that the statement is

      defamatory and subjects one to liability for special damages.

52.   Plaintiff is informed and based upon such belief alleges that the conduct of the

      agents, representatives and employees of Defendant company claims that the

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      agents, representatives and employees of Defendant company harmed her by

      making the following statement(s): (1) She was unethical; (2) She was seeking to

      fund her own company with the funds of the Client firm; 3. That she sought to

      evade and avoid disclosure by not fully disclosing her involvement with Pulse

      Operations among other defamatory statement none of which are true. That at all

      times these persons within the employ of defendant company knew at all times

      these persons reasonably understood that the statement(s) were] about plaintiff.

53.   Plaintiff is informed and based upon such belief alleges that the conduct of the

      agents, representatives and employees of Defendant company in fact made the

      aforementioned statements to persons other than Plaintiff and that these people

      reasonably understood that the statement(s) were about plaintiff];

54.   That these people, the agents, representatives and employees of Defendant

      company reasonably understood the statement(s) as aforementioned because of

      the facts and circumstances known to the listener(s)/reader(s) of the statement(s),

      they tended to injure plaintiff in her occupation or to expose her to hatred,

      contempt, ridicule, or shame.

55.   That defendant company personnel failed to use reasonable care to

determine the truth or falsity of the statement(s);

56.   That plaintiff suffered harm to her business, profession, or occupation including


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money spent as a result of the statement(s)]; and that the statement(s) were] a substantial

factor in causing plaintiff]’s harm.

57.   That agents, representatives and employees of Defendant company actions if

      proved by plaintiff then she has proved all of the above, then she is entitled to

      recover damages, and if plaintiff proves that defendant’s wrongful conduct was a

      substantial factor in causing any of the following actual damages due to harm to

      plaintiff’s business, trade, profession, or occupation; defendant must pay as a

      result of the

defamatory statements;

58.   That the type of harm to plaintiff’s reputation; and imposing shame, mortification,

      or hurt feelings justifies compensation as well as punitive damages.

                           FOURTH CAUSE OF ACTION
                                 FALSE LIGHT

(AVA NAEINI AGAINST COGNIZANT TECHNOLOGY SOLUTIONS U.S.
CORPORATION AND DOES 1-100, inclusive.)

59.   Plaintiff incorporates by reference paragraphs 1 through 58 as though fully

set forth below.

60.   Plaintiff can sue for false light when something highly offensive is implied to be

      true about them that is actually false. False light in California is different from



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      defamation. While defamation concerns statements that are actually false, false

      light is about false implications.

61.   Plaintiff claims that defendant violated her right to privacy.

62.   That defendant agents, representatives and employees of Defendant company

      publicly disclosed information or material that showed plaintiff in a false light;

63.   That the false light created by the disclosure would be highly offensive to a

      reasonable person in plaintiff’s position;

64.   That there is clear and convincing evidence that defendant agents, representatives

      and employees of Defendant company knew the disclosure would create a false

      impression about plaintiff or they acted with reckless disregard for the truth.

65.   In the alternative that defendant was negligent in determining the truth of the

      information or whether a false impression would be created by its disclosure;

66.   That plaintiff was harmed; and that plaintiff sustained harm to her business,

      profession, or occupation including money spent as a result of the statement(s)];

      and That agents, representatives and employees of Defendant company conduct

      was a substantial factor in causing plaintiff’s harm.

67.   That agents, representatives and employees of Defendant company actions if

      proved by plaintiff then she has proved all of the above, then she is entitled to

      recover damages, and if plaintiff proves that defendant’s wrongful conduct was a


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        substantial factor in causing any of the following actual damages due to harm to

        plaintiff’s business, trade, profession, or occupation; defendant must pay as a

        result of the

Statements that place her in a false light;

68.     That the type of harm to plaintiff’s reputation; and imposing shame, mortification,

        or hurt feelings justifies compensation as well as punitive damages.



                            PRAYER FOR RELIEF
69.     WHEREFORE, plaintiff prays judgment against defendants, and each of them,
        as follows:
1.      For general damages in the sum of according to proof.
2.      For punitive damages according to proof.
3.      For costs of suit herein incurred.
4.      For such other and further relief as the court may deem proper.
5.      Plaintiff prays for three years of full Salary amount as well as punitive damages

in the amount of $120.000 for damaging her reputation, career, misinformation and

ruining growth opportunities.

6.      Plaintiff prays for a letter from Defendant indicating that their decision to

terminate employment was done prematurely and that Plaintiff is free to reach out to

Credit Suisse regarding potentially working with them on the project as they were

initially interested. That opportunity had no conflict with her role at the time and in

                                                                                 Page 20 of 23
COMPLAINT BY AVA NAEINI AGAINST COGNIZANT TECHNOLOGY SOLUTIONS U.S.
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contrary it was something that could lead and contribute to huge success of Credit

Suisse and other big tech companies using machine learning.

Respectfully submitted,

Dated:   07/26/2023                   By: _________________________________
                                          Ava Naeini, Plaintiff In Pro Per




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COMPLAINT BY AVA NAEINI AGAINST COGNIZANT TECHNOLOGY SOLUTIONS U.S.
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See Exhibit 1 – INVENTION AGREEMENT, Dated _May 17th,

2022_____, a true and correct copy is provided by herein by reference.




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COMPLAINT BY AVA NAEINI AGAINST COGNIZANT TECHNOLOGY SOLUTIONS U.S.
CORPORATION AND DOES 1-100, inclusive.
             Case 2:23-cv-07118
                     CONFIDENTIALDocument  1-2AND
                                  INFORMATION  Filed 08/28/23
                                                  INVENTION    Page 24 AGREEMENT
                                                            ASSIGNMENT of 34 Page ID #:33

As a condition of my employment or my continuing employment with Cognizant Technology Solutions Corporation, a Delaware corporation, or
any of its subsidiaries, affiliates, successors or assigns (collectively, "Cognizant"), and in consideration of my employment or continuing
employment with Cognizant and my receipt of salary and other compensation, training, access to confidential information and relationships with
vendors and customers, the benefit of Cognizant’s goodwill, and the other valuable consideration I am receiving and will receive in the future, I
agree to the following provisions of this Cognizant Confidential Information and Invention Assignment Agreement (this “Agreement”):

1. MY EMPLOYMENT IS AT­WILL

I understand and acknowledge that my employment with Cognizant is for an unspecified duration and constitutes “at­will” employment. This
means that my employment relationship may be terminated at any time for any reason (or no reason) at Cognizant’s option or my option,
with or without notice. Any representation to the contrary is unauthorized and invalid.

2. MY OBLIGATIONS RELATING TO CONFIDENTIAL INFORMATION.

  A. Definition. “Confidential Information” means all proprietary information and materials, trade­secrets, know­how, and data, whether
  in written, electronic, oral, or any other form, that have not been made generally available to the public that are: (1) created, maintained
  or used in any aspect of Cognizant’s business operations; (2) suggested by or that result from any task assigned to me or work I perform
  for Cognizant, whether or not during working hours; (3) obtained from a legal entity that Cognizant acquired or in which it purchased a
  controlling interest (an “Acquired Company”); or (4) obtained by Cognizant from a third party subject to an obligation of confidence; in
  each case, whether or not marked “Confidential” or with another proprietary legend and even if I am not otherwise notified that Cognizant
  considers it to be Confidential Information. Confidential Information does not include any of the foregoing items that have become publicly
  and widely known through no wrongful act of mine or of others who were under an obligation of confidence as to the item or items
  involved. I understand that nothing in this Agreement is intended to limit my right to discuss the terms, wages, and working conditions of
  my employment to the extent such discussions are protected by applicable law.

  B. Examples. Confidential Information includes, but is not limited to: (1) marketing and business plans, markets, competitive information;
  (2) internal policies, procedures, reports and communications; (3) financial information, prices, costs, forecasts, budgets, contract terms
  and other non­public business information; (4) lists of customers, information I obtain about customers from my interactions with them
  and from working on customer projects, lists of suppliers and subcontractors, contract terms, and the characteristics of Cognizant’s
  relationships with other companies; (5) lists of employees, terms of employment, and compensation and other personnel information; (6)
  information that by law is subject to protection from disclosure; (7) data and databases, software, source code, developments,
  processes, formulas, technology, designs, drawings, engineering, trade secrets, know­how, research, non­public information regarding
  products and services or their performance characteristics, prototypes, inventions, methodologies, algorithms, laboratory notebooks,
  manuals, and licenses; and (8) hardware and network configurations, diagrams, passwords and security procedures.

  C. My Obligations. I agree: (1) to hold Confidential Information in strictest confidence and not to use it except for Cognizant’s benefit in
  the course of my employment; (2) not to disclose Confidential Information to any person or legal entity outside of Cognizant except in the
  proper performance of my job responsibilities; (3) to comply with Cognizant’s policies and procedures for marking, handling, copying,
  using, storing, transmitting and disclosing Confidential Information, and to otherwise be prudent in these activities by taking reasonable
  steps to avoid any unintended loss, disclosure or use of Confidential Information; (4) for Confidential Information that Cognizant has
  received from a third party, to comply with Cognizant’s confidentiality obligations applicable to the information, which I acknowledge may
  be more restrictive than the terms of this Agreement; (5) not to use any deceptive, misleading or illegal tactics to obtain access to the
  proprietary information or trade secrets of any person or legal entity; and (6) that my obligations regarding Confidential Information begin
  immediately upon my first having access to such Confidential Information (even if my first access occurs prior to the start of my
  employment with Cognizant) and continues during and after my employment by Cognizant until such time as the Confidential Information
  becomes public knowledge other than as a result of any breach of this Agreement by me or anyone acting in concert with me or on my
  behalf.

  D. Confidential Information of Former Employers I agree that I will not: (1) improperly use, disclose or induce Cognizant to use any
  proprietary information or trade secrets of any of my former employers or any other person or legal entity to whom I have confidentiality
  obligations; or (2) bring onto Cognizant premises or transfer to Cognizant’s systems any unpublished document, proprietary information
  or trade secrets belonging to a third party unless disclosure to, and use by, Cognizant have been consented to in writing by such third
  party.

  E. Whistle­Blower Protection.


       (1) Defend Trade Secrets Act Notice. I acknowledge that I have been provided with the following notice of immunity rights in
       compliance with the requirements of the Defend Trade Secrets Act of 2016 (the “DTSA”). Notwithstanding any provision of this
       Agreement, under the DTSA: (a) I shall not be held criminally or civilly liable under any federal or state trade secret law for the
       disclosure of Confidential Information that is made in confidence to a federal, state, or local government official, either directly or
       indirectly, or to an attorney, if it is made solely for the purpose of reporting or investigating a suspected violation of law, or is made
       in a complaint or other document filed in a lawsuit or other proceeding, provided that such filing is made under seal; and (b) if I file a
       lawsuit for retaliation by Cognizant for reporting a suspected violation of law I may disclose Confidential Information to my attorney
       and use Confidential Information in the court proceeding, provided that I file any documents containing Confidential Information
       under seal, and do not disclose the Confidential Information except pursuant to court order.


       (2) Reporting Possible Violations. No provision of this Agreement shall be interpreted to impede me (or anyone else) from
       reporting, in accordance with the DTSA, possible violations of federal law or regulation to any governmental agency or entity,
       including but not limited to the Department of Justice, the Securities and Exchange Commission, the Equal Employment Opportunity
       Commission, Congress, or an agency Inspector General, or making other disclosure under the whistleblower provisions of federal
       law or regulation. I understand that I do not need Cognizant’s prior authorization to make any such reports or disclosures and that I
       am not required to notify Cognizant that such reports will be, or have been made.

3. INVENTIONS.

  A. Definitions.


       (1) “Invention” means any invention, development, concept, know­how, improvement, technique, design, trade secret, idea, data,
     discovery, mask work, writing, photo, art item, audio or video recording, software item, source code, documentation, or other original
     work of authorship, and the like, and all copies, improvements, enhancements, derivative works and tangible embodiments of the
           Case
     foregoing,    2:23-cv-07118
                whether                     Document
                        or not patentable, subject          1-2 protection,
                                                    to trademark    Filed 08/28/23
                                                                             or registerable Page    25 of or
                                                                                             under copyright 34similar
                                                                                                                   Pagelaws. ID #:34

     (2) “IP Rights” means the following types of intellectual property rights under the laws of any jurisdiction in the world: (a) rights
     associated with works of authorship, including but not limited to copyrights, design rights, moral rights and mask work rights; (b)
     trademarks, service marks, trade name rights and similar rights; (c) trade secret rights; (d) patent and industrial property rights; (e)
     other proprietary rights in and to Inventions and intellectual property of every kind; and (f) rights in or relating to applications,
     registrations, renewals, extensions, combinations, divisions, amendments and reissuances of or for any of the foregoing rights.

B. Cognizant Inventions. . I understand and agree that each Invention that I create, conceive, write, develop or reduce to practice, or
that I cause to be created, conceived, written, developed or reduced to practice (collectively, “Created”) during the period of my
employment with Cognizant, whether I am working alone or with others, is considered a “Cognizant Invention” if the Invention meets
any one or more of the following conditions: (1) it relates to Cognizant’s actual or anticipated business, research or development
activities; (2) it is suggested by, or results from, any task assigned to me or work performed by me for or on behalf of Cognizant; (3) it is
Created using any Cognizant Confidential Information; or (4) it is Created using any of Cognizant’s equipment, resources, materials or
time (collectively, “Cognizant Resources”). I understand that certain state laws limit the inventions that can be assigned to an employer.
Therefore, Cognizant Inventions will not include any invention that cannot be owned by Cognizant under the provisions of such an
applicable state law.

C. Cognizant’s Ownership of Cognizant Inventions. I understand and acknowledge that any Cognizant Inventions consisting of
writings, photos, art, audio or video recordings, software, source code, documentation, and other works of authorship created within the
scope of my employment with Cognizant or an Acquired Company are owned by Cognizant or the Acquired Company by operation of law
as “works made for hire,” as that term is defined in the United States Copyright Act. I agree to assign and I hereby do assign exclusively
to Cognizant all of my right, title, and interest in and to all Cognizant Inventions and all IP Rights in Cognizant Inventions and I agree that
Cognizant is and shall be the sole owner of all Cognizant Inventions and IP Rights therein. I agree that I only have a right to use
Confidential Information and Cognizant Inventions while I am employed by Cognizant and for the limited purpose of performing my
assigned job responsibilities for Cognizant. Nothing in this Agreement is intended to grant me any other rights or licenses to any
Confidential Information or Cognizant Inventions or under any Cognizant IP Rights.

D. My Obligations Relating to Cognizant Inventions. I agree to promptly disclose all Cognizant Inventions to the Cognizant IP Team
at IP@cognizant.com . I will cooperate with Cognizant, both before and after my employment ends, in signing documents, providing
information, and doing other things reasonably requested by Cognizant to secure, protect, enforce, and transfer to Cognizant all IP
Rights in Cognizant Inventions. I understand that Cognizant will provide me with reasonable compensation for my time if substantial
assistance is required from me after my employment with Cognizant ends. If Cognizant is unable for any reason to secure my signature to
apply for or to pursue any application for any United States or foreign patent or copyright or similar registrations covering any Cognizant
Invention, I hereby appoint Cognizant and its duly authorized officers and agents as my agent and attorney­in­fact to act for and on my
behalf to sign and file applications and other documents and to do all other lawfully permitted acts to further the prosecution and
issuance of patent, copyright or similar registrations for Cognizant Inventions, which will have the same legal force and effect as if I had
signed them

E. Inventions Created Before My Employment with Cognizant. I understand that Cognizant is not seeking to own any Invention that
I Created before I began my employment with Cognizant, whether it was Created while I was working alone or with others (“Personal
Inventions”), except for any Invention that I Created while I was working: (1) under a contract that gave ownership of the Invention to
Cognizant; or (2) for an Acquired Company, if the Invention is owned by, or I was obligated to assign it to the Acquired Company, or if the
Invention met any one or more of the four conditions listed in Section 3.B in relation to the Acquired Company. Inventions meeting either
of these two exceptions are considered to be Cognizant Inventions. To help avoid any future confusion or dispute as to what Inventions
should be considered to be my Personal Inventions, I have provided below a non­confidential description of all of my Personal Inventions
that I own as of the date I sign this Agreement, whether they are owned solely by me or jointly with others, and that could relate in any
way to the actual or anticipated business, research or development activities of Cognizant. If I write “none” or leave the lines below blank
then I am certifying that I do not have any ownership rights in any Personal Inventions or that my Personal Inventions do not relate in any
way to the actual or anticipated business, research or development activities of Cognizant.

                                                                                                                                              I
                       Title                      Date            Identifying Number or Brief Non­Confidential Description


                                                                   Provisional Patent
                Pattern Recognition
                                               07/31/2021
                 Monitoring Tool




                                           No Inventions              Additional sheets attached

represent and warrant to Cognizant that none of my obligations relating to my Personal Inventions will materially affect my ability to
perform my work obligations to Cognizant.

F. My Rights to Personal Inventions I Create After My Start Date. If I Create an Invention while I am employed by Cognizant, then it
is also considered to be my Personal Invention if I can demonstrate to Cognizant that all of the following conditions apply: (1) I Created
the Invention on my own time; (2) I did not use Cognizant Resources or Cognizant Confidential Information to Create the Invention; (3)
the Invention does not relate directly to Cognizant’s actual or demonstrably anticipated business, research or development activities; (4)
the Invention was not suggested by and did not result from any work I performed for Cognizant; and (5) I did not violate Cognizant’s code
of ethics or other Cognizant policy in Creating the Invention. I understand that Cognizant is not seeking to own any of my Personal
Inventions meeting these conditions. Subject to any express limitations in this Agreement, I understand that I am not restricted by this
Agreement from continuing to develop and exploit my Personal Inventions, provided that: (1) I do so without using Cognizant Resources
 or Confidential Information; (2) the work does not conflict or interfere with the performance of my job responsibilities for Cognizant; and
 (3) the work does not involve any violation of Cognizant’s code of ethics or other policy and does not pose a conflict of interest as
             Case4.A.
 outlined in Section  2:23-cv-07118 Document 1-2 Filed 08/28/23 Page 26 of 34 Page ID #:35

 G. Restriction on Using My Personal Inventions in My Job. I agree not to incorporate any of My Personal Inventions into any
 Cognizant Invention or otherwise use any of My Personal Inventions in the course of my job responsibilities for Cognizant, unless I have
 obtained express prior written approval to do so from the Cognizant IP Team at IP@cognizant.com. I further agree not to incorporate any
 other Inventions into any Cognizant Invention, or otherwise use any other Inventions in the course of my job responsibilities for
 Cognizant, unless the Invention is owned by Cognizant or properly licensed to Cognizant for such purpose. If I do incorporate any of My
 Personal Inventions or any other Inventions that are not owned by Cognizant (and not licensed to Cognizant for such purpose) into any
 Cognizant Invention or otherwise use any of them in the course of my job responsibilities for Cognizant in such a way that Cognizant or
 any of its customers might be liable for infringement or misappropriation (which I acknowledge would be a violation of this Agreement),
 then I hereby grant Cognizant a nonexclusive, royalty­free, paid­up, irrevocable, perpetual, transferable, worldwide license (with rights to
 grant and authorize sublicenses through multiple tiers of sub­licensees) to make, have made, use, import, offer for sale, sell, reproduce,
 distribute, modify, adapt, prepare derivative works of, display, perform, and otherwise exploit such Inventions, without restriction, and to
 practice any method related thereto.

 H. Disputes Regarding Ownership of Inventions. I understand that if there is any dispute about the ownership of an Invention,
 Cognizant will be deemed the rightful owner unless I can provide conclusive written evidence that the Invention qualifies as one of My
 Personal Inventions. Disclosures made in Section 3.E or other verifiable records such as a publication date or a filing date with a patent
 office that precedes the commencement of my employment with Cognizant or an Acquired Company, for example, may serve as evidence
 of ownership of My Personal Inventions.

4. MY OTHER RESPONSIBILITIES.

 A. Avoiding Conflicts of Interest. To avoid any actual or potential conflicts of interest with my responsibilities to Cognizant and to the
 maximum extent permitted by law, while I am employed by Cognizant I will not engage in any other employment, occupation, consulting or
 business activity directly related to the business in which Cognizant is now involved or in which it becomes involved during the term of my
 employment, nor will I engage in any other activities that would be competitive with or otherwise pose a threat to Cognizant’s business
 interests or that would be potentially disruptive to Cognizant’s operations, including but not limited to selling or licensing any of My
 Personal Inventions to a Cognizant competitor. Prohibited activities include but are not limited to owning, operating, assisting, consulting
 for, contracting with, being employed by, or performing services (other than on behalf of Cognizant) for any current or prospective
 customer of Cognizant for which I performed any services or with which I otherwise interacted in connection with my job responsibilities for
 Cognizant. Without limiting the foregoing, I represent and warrant to Cognizant that I have no other agreements, relationships, or
 commitments to any other person or entity that conflict with the provisions of this Agreement, my obligations to Cognizant under this
 Agreement, or my ability to become employed and perform the responsibilities for which I am being or was hired by Cognizant.

 B. Restrictive Covenants.


      (1) Definition. “Restriction Period” means a period of 12 months immediately following the termination of my employment for any
      reason, whether termination is with or without cause.

      (2) Non­solicitation of Employees. During my employment with Cognizant and during the Restriction Period, I will not either
      directly or indirectly, on behalf of myself or any other person or entity, solicit or encourage any Cognizant employee, contractor or
      consultant to terminate their relationship with Cognizant

      (3) Non­solicitation of Customers. During my employment with Cognizant and during the Restriction Period, I will not either
      directly or indirectly, on behalf of myself or any other person or entity, solicit any customer of Cognizant with whom I had dealings in
      the course of my employment for the purpose of (a) marketing, selling, or providing products or services that are competitive with
      those offered by Cognizant, or (b) inducing such a customer of Cognizant to reduce or cancel its business with Cognizant.

      (4) Non­Competition. During my employment with Cognizant I will not directly or indirectly contract with, be employed by, or advise
      or perform services for (other than on behalf of Cognizant) any customer or prospective customer of Cognizant. This obligation will
      continue during the Restriction Period with respect to any customer or prospective customer for which I performed any services or
      with which I otherwise interacted in connection with my job responsibilities for Cognizant in the 12­month period immediately
      preceding the termination of my employment.

      (5) Exception for Certain States and Jurisdictions. The obligations in Section 4.B(3) and (4) shall not apply during any period
      of time in which I work in California, North Dakota, Washington D.C., or in any state or other jurisdiction in which they are prohibited
      by applicable law.

      (6) Reasonableness. I agree that the restrictions in this Section 4.B are reasonable as to time, area and scope; that they are
      necessary to protect Cognizant’s investment in me; and that they are not broader than necessary to protect Cognizant’s legitimate
      business interests and goodwill.

 C. Compliance with Laws and Cognizant Policies. I will comply with and to do all things necessary for Cognizant to comply with: (1)
 the laws and regulations governing Cognizant’s business; (2) the terms of all of Cognizant’s contracts, including those involving
 government obligations that relate to intellectual property or the safeguarding of information; and (3) Cognizant’s code of ethics and its
 other policies and procedures as they may be updated from time to time, including without limitation policies and procedures related to
 intellectual property, security, and privacy matters.

 D. Use of Cognizant Systems. I acknowledge that I have no reasonable expectation of privacy in any computer, server, computer
 system, e­mail, mobile or handheld device, voicemail, or other equipment or technology (collectively, “Cognizant Systems”) used to
 conduct Cognizant’s business. I acknowledge that Cognizant has the right to view any content contained in Cognizant Systems and
 otherwise audit and monitor Cognizant Systems without notice to me. I also understand that I am not permitted to add any unlicensed,
 unauthorized or non­compliant software to Cognizant Systems, including without limitation open source or free software not authorized in
 advance by Cognizant.

 E. Consent to Use Personal Data. Cognizant’s use, transfer, collection and storage of prospective and current employees’ personal
 information is governed by its Global Associate Privacy Notice (“APN”). By providing my personal information to Cognizant, I agree to the
 terms and conditions outlined in the APN.
    F. Obligations Upon Termination of Employment. At the conclusion of my employment with Cognizant, or at any other time that
    Cognizant requests, I will immediately deliver to Cognizant, and will not keep in my possession, recreate, or deliver to anyone else, any
               Caseproperty,
    and all Cognizant   2:23-cv-07118           Document
                                 including but not  limited to all 1-2
                                                                   copies Filed  08/28/23
                                                                          of Confidential        Page
                                                                                          Information, all 27  of 34
                                                                                                           devices      Page IDbelonging
                                                                                                                   and equipment   #:36 to
    Cognizant (including laptop and other computers, mobile and handheld electronic devices, and other devices and equipment), all
    tangible embodiments of Cognizant Inventions, Cognizant credit cards, records, data, notes, notebooks, reports, files, and
    correspondence. I will also consent to an exit interview to confirm my compliance with this paragraph. I understand that I may retain from
    my employment with Cognizant only the documents that relate to the terms of my employment or my personal compensation and benefits,
    such as a copy of this Agreement and other agreements I may have with Cognizant, my pay stubs and personal tax documents, copies of
    my performance reviews or awards I have received and benefit plan booklets and other documents describing Cognizant benefits
    applicable to me. I agree to keep Cognizant advised of my home and business addresses for a period of three years after my
    employments ends, to allow Cognizant to contact me about my continuing obligations under this Agreement.

    G. Cognizant’s Freedom of Action. I acknowledge that nothing in this Agreement restricts Cognizant’s freedom to pursue any business
    opportunity, course of development or business plan regardless of any knowledge, information or data that I may disclose to Cognizant at
    any time.


  5. GENERAL.

    A. Assignment. I understand that this Agreement will be binding on me, my heirs, executors, assigns, administrators and other legal
    representatives, and that it also is binding on and is intended to benefit Cognizant and any successor to Cognizant and any legal entity
    to whom it may be assigned by Cognizant. Cognizant may assign this Agreement to a legal entity that acquires Cognizant or all or most of
    its assets, or that acquires a portion of Cognizant’s business or assets that relate to my job.

    B. Violations. I understand that if I violate this Agreement I could be subject to disciplinary action, which may include termination of my
    employment.

    C. Entire Agreement. If I have signed another agreement with Cognizant that imposes additional or more stringent obligations on me,
    such obligations are in addition to any obligations under this Agreement and will take precedence over any inconsistent terms of this
    Agreement. Otherwise, this is the entire agreement between Cognizant and me regarding its subject matter and this Agreement
    supersedes and replaces any prior or contemporaneous agreement, written or oral.

    D. Section Headings. Section headings in this Agreement are for ease of reference only and will not be used to interpret this
    Agreement.

    E. Amendment. I understand that an amendment to or waiver of this Agreement is only enforceable against Cognizant if it is in writing
    and signed by a Cognizant officer at the level of Vice President or above and approved by a Cognizant attorney at the level of Vice
    President or above as evidenced by a clear and conspicuous mark (e.g., initials, stamp, or other similar marking). If Cognizant or I do not
    enforce a term in this Agreement, that does not mean that we have waived that term and are precluded from enforcing it at a later time.

    F. Enforcement. I acknowledge that Cognizant may be significantly and permanently harmed if I violate this Agreement and that money
    damages may not be adequate to compensate Cognizant for the resulting harm. Cognizant is entitled to obtain temporary, preliminary or
    permanent injunctive relief in court against me to prevent any continuation of a violation. However, this section does not limit any other
    legal or equitable remedies that Cognizant may have against me for a violation of this Agreement. If any provision of this Agreement is
    found to be unenforceable or inconsistent with applicable law, it will be deemed modified to the limited extent necessary to make it
    consistent with applicable law and it will be enforced as so modified.

    G. Disclosure of Agreement. I understand that Cognizant is not obligated to keep this Agreement confidential and I grant Cognizant my
    consent to disclose this Agreement, for example to Cognizant’s customers and investors, and after my employment terminates to advise
    my new employer about Cognizant’s rights and my obligations under this Agreement.

    H. Governing Law. This Agreement will be governed by and interpreted in accordance with the laws of the State of Texas without
    regard to conflicts of laws rules that might result in the application of the laws of a jurisdiction other than Texas; provided, however, that if
    I work in California at any point in time, then solely during the period of time I work in California this Agreement will be governed by and
    interpreted in accordance with the laws of the State of California without regard to conflicts of laws rules that might result in the
    application of the laws of a jurisdiction other than California.

    I. Survival. I understand that some of my obligations under this Agreement are intended to continue to apply to me after my employment
    with Cognizant ends, regardless of who terminates my employment or why it is terminated.

    J. Opportunity to Review. By my signature below, I acknowledge that: (1) I have read and understand each provision of this
    Agreement; (2) I have had an opportunity to review this Agreement with legal counsel of my choosing; (3) I am signing this
    Agreement freely and with knowledge of its contents; (4) I am not relying on any representations or promises that are not
    included in this Agreement; (5) any restrictions imposed on me under this Agreement are fair, reasonable and proper and
    required for the protection of Cognizant’s business interests and will not preclude me from earning a living; and (6)
    although this Agreement was drafted by Cognizant, it accurately reflects my intent and understanding and, in the event of
    any dispute, this Agreement will not be construed in favor of one party or the other, but rather in accordance with its plain
    meaning.



This page has been signed by Ava Naeini on May 17 2022 14:47 (GMT) effective from May 31 2022
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See Exhibit 2 – for the denial, defamation claim of misconduct, court

hearing and judge ruling correct copies are provided by herein by

reference.




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